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                 IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,           )
                                    )               Case No. CR-08-240-E-BLW
           Plaintiff,               )
                                    )               ORDER ADOPTING
      v.                            )               REPORT AND
                                    )               RECOMMENDATION
IVAN OSVALDO VEGA,                  )
                                    )
           Defendant.               )
 ___________________________________)

      The Court has before it a Report and Recommendation filed by the United

States Magistrate Judge. (Docket No. 341). On August 25, 2009, Defendant Ivan

Osvaldo Vega appeared before the Magistrate Judge to enter a change of plea

pursuant to a written plea agreement. The Magistrate Judge conducted the plea

hearing and concluded there is a factual basis for Defendant’s plea of guilty to the

charges contained in Count 26 of the Superseding Indictment (Docket No. 101),

and that it was entered voluntarily and with full knowledge of the consequences.

No objections to the Report and Recommendation have been filed.

      The Court now has reviewed the record, and finds that the requirements of

Rule 11 have been met. See United States v. Reyna-Tapia, 328 F.3d 1114 (9th Cir.

2003). Specifically, the Court finds that the Magistrate Judge adhered to the


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requirements of Rule 11(b); that under Rule 11(b)(2), the Defendant’s plea was

voluntary and not the result of force or threats or promises apart from the plea

agreement; and that a factual basis for the plea exists. See id. Accordingly,

      NOW THEREFORE IT IS HEREBY ORDERED that the Report and

Recommendation (Docket No. 341) shall be, and the same is hereby, ADOPTED

as the decision of the District Court and incorporated fully herein by reference.

      IT IS FURTHER ORDERED that the Defendant’s plea of guilty to the

crimes charged in Count 26 of the Superseding Indictment (Docket No. 101), shall

be, and the same is hereby, ACCEPTED by the Court as a knowing and voluntary

plea supported by an independent basis in fact containing each of the essential

elements of the offense.

      IT IS FURTHER ORDERED that Defendant Ivan Osvaldo Vega is found to

be GUILTY as to the crimes charged in Count 26 of the Superseding Indictment

(Docket No. 101).



                                       DATED: September 15, 2009



                                       B. LYNN WINMILL
                                       Chief Judge
                                       United States District Court


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